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                        United States Bankruptcy Court
                               Western District of Michigan
                              One Division Ave., N, Room 200
                                 Grand Rapids, MI 49503

 Daniel M. LaVille
         Clerk
(616) 456-2693- Tel.
(616) 456-2919- Fax.
                                                June 21, 2018

Alisa Byrnes
2202 Lagoon Drive
Okemos, MI 48864

In Re: Debtor’s Declaration Re: Electronic Filing
       Case No.: 18-01839-swd

Dear Ms. Byrnes:

       The record of this Court reflects that on April 23, 2018, attorney Adam J. Gantz,
Esq. electronically filed a Chapter 13 proceeding on your behalf. Pursuant to the
Administrative Procedures for the Electronic Filing, Signing, Verification and Service of
Documents adopted by the Court on February 3, 2004, a Debtor’s Declaration Re:
Electronic Filing shall be filed within seven (7) business days of the electronic filing.
Further, that failure to timely file said declaration may result in the dismissal of the
bankruptcy proceeding without prejudice and without further notice of the Court.

       Please be advised that as of today’s date, your Debtor’s Declaration Re:
Electronic Filing has not been filed with the Court. Without this document, the court is
unable to issue a Chapter 13 discharge on your behalf when applicable. I have
enclosed a form declaration for you to fill out and return to the court at the mailing
address referenced above. Please note that if you sign the form, it must also contain
your full social security number in the space provided below your signature in order for
you to receive a discharge.

     If you have any questions, please do not hesitate to contact me at the telephone
number referenced above.


                                                Very truly yours,


                                                /S/ Brenda Stewart
                                                Brenda Stewart
                                                Case Administrator Supervisor

Enclosure
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                     UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF MICHIGAN
In Re:
              Alisa Byrnes                                    Case No.:     18-01839-swd


                                   Debtor(s)/



                          Declaration Re: Electronic Filing
                    and Verification of Social Security Number(s)


       I(we) the undersigned debtor(s), hereby declare that the information I(we) have
given to my(our) attorney and the information provided in the electronically filed petition,
statements and schedules is true and correct. I(we) have consented to my(our)
attorney electronically filing the petition, statements, schedules and any future
amendments of these documents. I(we) declare that the Social Security Number(s)
indicated below is(are) true and correct.

       I(we) have been informed by my(our) attorney that I(we) may proceed under
chapter 7, 11, 12 or 13 of the United States Code, and understand the relief available
under each such chapter and have requested relief in accordance with the chapter
specified in the electronically filed petition.



         I(we) declare under penalty of perjury that the foregoing is true and correct.




Dated:                                          X
                                                Signature of Debtor

                                                Social Security No.:


Dated:                                          X
                                                Signature of Joint Debtor (if applicable)

                                                Social Security No.:



                         (PLEASE FILE ORIGINAL WITH COURT)
